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                    13                                UNITED STATES DISTRICT COURT
                    14                               CENTRAL DISTRICT OF CALIFORNIA
                    15
                    16     DANIELLE GAMINO, individually and                 Case No. 5:20-cv-01126-SB-
                           on behalf of all others similarly situated,       [Consolidated Case Number]
                    17
                                                    Plaintiff,               DEFENDANT SPCP GROUP,
                    18                                                       LLC’S OPPOSITION TO
                                              vs.                            PLAINTIFF’S MOTION FOR
                    19                                                       CLASS CERTIFICATION
                           SPCP GROUP, LLC,
                    20                                                       Date: April 8, 2022
                                                    Defendant,               Time: 8:30 a.m.
                    21                                                       Ctrm: 6C
                                and
                    22
                           KPC HEALTHCARE INC. EMPLOYEE
                    23     STOCK OWNERSHIP PLAN,
                    24                              Nominal Defendant.
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                       1   I.       INTRODUCTION
                       2            SPCP opposes Plaintiff’s Motion for Class Certification. Dkt. 230 (“Mot.”).
                       3   While SPCP does not dispute that Plaintiff can establish the remaining Rule 23
                       4   requirements, Plaintiff is not an adequate class representative for the claims against
                       5   SPCP, as required by Rule 23(a)(4).
                       6            This Court previously certified Plaintiff’s claims against the KPC Defendants,
                       7   finding Plaintiff an adequate class representative with respect to the claims against
                       8   those entities. Dkt. 174 at 9-10. At that juncture, Plaintiff was able to sufficiently
                       9   articulate the various roles of the KPC Defendants in the alleged ERISA violations
                    10     to satisfy the Court that she was an adequate class representative. Id. Without
                    11     making a similar factual showing, Plaintiff’s Motion for class certification of her
                    12     claims against SPCP simply argues that, because the Court deemed her an adequate
                    13     representative for claims against KPC, she must be an adequate representative for
                    14     claims against SPCP. (Mot. at 24) (“This Court previously concluded that Ms.
                    15     Gamino had sufficient understanding of her claims required to act as a class
                    16     representative and has also demonstrated a willingness to pursue her claims.”) With
                    17     all due respect, that is simply insufficient.
                    18              At the time the Court certified the action against the KPC defendants and found
                    19     Plaintiff to be an adequate class representative with respect to the original claims,
                    20     SPCP was not a party and Plaintiff had not yet sat for a deposition as to her working
                    21     knowledge of SPCP’s alleged involvement in the challenged ESOP transaction. That
                    22     has since happened and, as her discussed in detail below, while Plaintiff may have
                    23     had enough knowledge of her claims against the KPC Defendants, that proceeding
                    24     revealed that Plaintiff does not “understand[] and control[] the major decisions of the
                    25     case” against SPCP.            Sanchez v. Wal Mart Stores, Inc., No. CIV
                    26     206CV02573JAMKJM, 2009 WL 1514435, at *3 (E.D. Cal. May 28, 2009) (denying
                    27     class certification due to inadequacy of class representative, who did not possess
                    28     basic knowledge of claims against defendant).
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                       1            Rule 23(a)(4) requires more than Plaintiff hiring competent attorneys and
                       2   being free from conflicts of interest. Plaintiff must also demonstrate that she has not
                       3   abdicated all responsibility in the litigation to her counsel. “[A] party who is not
                       4   familiar with basic elements of its claim is not considered to be an adequate
                       5   representative for the class because there is no sense that there is an actual party
                       6   behind counsel’s prosecution of the action.” Burkhalter Travel Agency v. MacFarms
                       7   Int’l, Inc., 141 F.R.D. 144, 153 (N.D. Cal. 1991). Because Plaintiff lacks the requisite
                       8   knowledge and understanding of the claims against SPCP and has therefore ceded
                       9   control of the prosecution of those claims to her counsel, she is not an adequate class
                    10     representative.
                    11     II.      FACTUAL BACKGROUND
                    12              Plaintiff’s claims against SPCP have their origins in SPCP’s relationship with
                    13     Integrated Healthcare Holdings, Inc. (“IHH”), a formerly publicly traded medical
                    14     holding company. (First Amended Complaint (“FAC”), Dkt. 21 ¶ 37).
                    15              Beginning in 2005, and culminating in 2013, Dr. Kali Pradip Chaudhuri
                    16     acquired 100% of the outstanding shares of IHH. (FAC ¶¶ 38, 44, 54-66). SPCP
                    17     provided Dr. Chaudhuri with a term loan to help him acquire some of the outstanding
                    18     shares of IHH common stock. (FAC ¶ 126). IHH became a private company on
                    19     January 7, 2014. (FAC ¶¶ 62, 69). Dr. Chaudhuri became the CEO and chairman of
                    20     its board of directors. The company was renamed KPC Healthcare Holdings, Inc.
                    21     (KPC). KPC adopted the ESOP on April 1, 2015 (FAC ¶ 71); and a few months later,
                    22     on August 28, 2015, Alerus Financial N.A. (“Alerus”), acting as the ESOP’s
                    23     appointed trustee, caused the ESOP to purchase 100% of the shares of KPC common
                    24     stock from Dr. Chaudhuri (the “2015 ESOP Transaction”) (FAC ¶ 72).
                    25              Plaintiff alleges that as part of the 2015 ESOP Transaction, SPCP sold KPC a
                    26     common stock warrant entitling it to acquire a large amount of KPC shares in
                    27     exchange for: $18,810,000 in cash; a promissory note in the original principal amount
                    28     of $26,946,000; a new warrant to purchase KPC shares; and 10.2% of any net
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                       1   payments received by KPC or its subsidiaries under California’s hospital quality
                       2   assurance fee (QAF) program for services provided from January 1, 2017 to
                       3   December 31, 2024 (the “SPCP Warrant Purchase Agreement”). (FAC ¶ 73).
                       4            Plaintiff alleges that the per-share price of KPC stock in the 2015 ESOP
                       5   Transaction represented a substantial increase over the equity value implied by the
                       6   earlier IHH Transaction, and over the equity value implied by the price of IHH stock
                       7   on the public market between April 2012 and March 2013. (FAC ¶¶ 76-77). She
                       8   alleges that (among other defendants), Alerus and Dr. Chaudhuri violated ERISA
                       9   through their participation in the 2015 ESOP Transaction.
                    10              Plaintiff seeks to hold SPCP liable for equitable relief under ERISA Section
                    11     502(a)(3), 29 U.S.C. § 1132(a)(3), for knowingly participating in the alleged
                    12     violations of ERISA Sections 404 and 406, 29 U.S.C. §§ 1104, 1106, committed by
                    13     Dr. Chaudhuri and Alerus. (FAC ¶¶ 132-34). The core of Plaintiff’s claim against
                    14     SPCP is that SPCP—which she alleges “participated” in the 2015 ESOP Transaction
                    15     because it sold warrants to KPC—had access to company financials as a long-time
                    16     investor in KPC, and purportedly knew that the purchase price for KPC stock in the
                    17     2015 ESOP Transaction far exceeded the equity value implied by the IHH
                    18     Transaction just a few years earlier, and was not justified by KPC’s allegedly
                    19     declining performance. (FAC ¶¶ 89-90, 126, 128-131).
                    20     III.     LEGAL STANDARD
                    21              As class certification is an exception to the usual rule that litigation is
                    22     conducted by and on behalf of the individual named parties only, the burden of
                    23     proving the elements for certification falls squarely on Plaintiffs. Wal-Mart Stores,
                    24     Inc. v. Dukes, 564 U.S. 338, 350 (2011) (“A party seeking class certification must
                    25     affirmatively demonstrate his compliance with [Rule 23].”) The party seeking class
                    26     certification must provide facts sufficient to satisfy the requirements of Rule 23.
                    27     Doninger v. Pac. Nw. Bell, Inc., 564 F.2d 1304, 1309-10 (9th Cir. 1977). Plaintiffs
                    28     may certify a class only if they establish numerosity, commonality, typicality, and
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                       1   adequacy. Fed. R. Civ. P. 23(a). A proposed class action must also satisfy one of the
                       2   subdivisions of Rule 23(b): either questions common to the class predominate over
                       3   questions affecting only individual members, or a class action is superior to other
                       4   methods. See Schwartz v. Upper Deck Co., 183 F.R.D. 672, 675 (S.D. Cal. 1999)
                       5   (“Failure to prove any one of Rule 23’s requirements destroys the alleged class
                       6   action.”) (emphasis added).
                       7            Before certification, the court must conduct a “rigorous analysis” to determine
                       8   whether plaintiff has met these prerequisites. See Mazza v. Am. Honda Motor Co.,
                       9   666 F.3d 581, 588 (9th Cir. 2012). This rigorous analysis overlaps with the merits of
                    10     the plaintiff’s underlying claim to the extent relevant to determining whether the Rule
                    11     23 prerequisites are satisfied. See Amgen Inc. v. Conn. Ret. Plans & Trust Funds,
                    12     568 U.S. 465, 465-66 (2013); accord Algarin v. Maybelline, LLC, 300 F.R.D. 444,
                    13     452 (S.D. Cal. 2014) (finding the court must consider the merits if they overlap with
                    14     the Rule 23(a) requirements).
                    15              “[C]lass representatives serve as a guardian of the interests of the class.” In re
                    16     Tableware Antitrust Litig., 241 F.R.D. 644, 649 (N.D. Cal. 2007). Accordingly, part
                    17     of the “rigorous analysis” conducted in considering the propriety of class certification
                    18     is an examination of the named Plaintiff’s “adequacy” with respect to her
                    19     representation of the absent class members. The court must find that named
                    20     plaintiff’s counsel is adequate, and that the named plaintiff(s) can fairly and
                    21     adequately protect the interests of the class. This is because, in order “[t]o satisfy
                    22     constitutional due process concerns, unnamed class members must be afforded
                    23     adequate representation before entry of a judgment which binds them.” Hanlon v.
                    24     Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998); In re Facebook, Inc., PPC
                    25     Advert. Litig., 282 F.R.D. 446, 454 (N.D. Cal. 2012), aff’d sub nom. Fox Test Prep
                    26     v. Facebook, Inc., 588 F. App’x 733 (9th Cir. 2014) (same). Thus, in considering the
                    27     involvement and knowledge of a prospective class representative, “[t]he Court must
                    28     feel certain that the class representative will discharge his fiduciary obligations by
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                       1   fairly and adequately protecting the interests of the class.” Koenig v. Benson, 117
                       2   F.R.D. 330, 332, 333–34 (E.D.N.Y. 1987).
                       3            The Court also must ensure that class representatives do “not simply lend[ ]
                       4   their names to a suit controlled entirely by the class attorney....” Alberghetti v. Corbis
                       5   Corp., 263 F.R.D. 571, 580 (C.D. Cal. 2010), denial of class cert. aff'd, 2012 U.S.
                       6   App. LEXIS 14694 (9th Cir. Jul. 18, 2012).              A class with “an essentially
                       7   unknowledgeable” class representative means that counsel acts on behalf of the class,
                       8   which “risk[s] a denial of due process to the absent class members.” Burkhalter
                       9   Travel Agency v. MacFarms Int’l, Inc., 141 F.R.D. 144, 153–54 (N.D. Cal. 1991).
                    10     Accordingly, courts have refused to allow a person to represent a class when, for
                    11     example, she “appeared unaware of even the most material aspects of [her] action ...
                    12     [not knowing] why these particular defendants are being sued ... [and having] no
                    13     conception of the class of people she purportedly represents.” In re Storage
                    14     Technology Corp. Securities Litigation, 113 F.R.D. 113 (D. Colo. 1986); see also
                    15     Kassover v. Computer Depot, Inc., 691 F. Supp. 1205, 1213-14 (D. Minn. 1987)
                    16     (denying class certification where proposed representative’s “deposition in this case
                    17     reveals that plaintiff is unfamiliar with several critical aspects of this litigation” and
                    18     “rather than competently controlling the course of the litigation, plaintiff has
                    19     contented himself to rely entirely upon his attorney’s direction”). In considering the
                    20     involvement and knowledge of a prospective class representative, “[t]he Court must
                    21     feel certain that the class representative will discharge his fiduciary obligations by
                    22     fairly and adequately protecting the interests of the class.” Koenig, 117 F.R.D. at
                    23     333–34.
                    24              “Class action lawsuits are intended to serve as a vehicle for capable, committed
                    25     advocates to pursue the goals of the class members through counsel, not for capable,
                    26     committed counsel to pursue their own goals through those class members.” Berger
                    27     v. Compaq Comp. Corp., 257 F.3d 475, 484 (5th Cir. 2001). The burden accordingly
                    28     rests with plaintiffs to “produce actual, credible evidence that the proposed class
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                       1   representatives are informed, able individuals, who are themselves—not the
                       2   lawyers—actually directing the litigation.” In re Kosmos Energy Ltd. Sec. Litig., 299
                       3   F.R.D. 133, 145 (N.D. Tex. 2014). Plaintiff cannot carry that burden here.
                       4   IV.      ARGUMENT
                       5            A.        Adequacy Requires Knowledge Of The Basis For Asserted Claims
                                              So That It Is The Representative, Not Counsel, Who Directs The
                       6                      Litigation
                       7            As this Court acknowledged in finding that Plaintiff is an adequate class
                       8   representative with respect to the claims against the KPC Defendants, it is not
                       9   necessary that a representative “be intimately familiar with every factual and legal
                    10     issue in the case;” rather, “it is enough that the representative understand the
                    11     gravamen of the claim.” Californians for Disability Rts., Inc. v. California Dep’t of
                    12     Transp., 249 F.R.D. 334, 349 (N.D. Cal. 2008) (citing Moeller v. Taco Bell Corp.,
                    13     220 F.R.D. 604, 611-12 (N.D. Cal. 2004), amended in part on other grounds by No.
                    14     C 02-5849 PJH, 2012 WL 3070863 (N.D. Cal. July 26, 2012); Dkt. 174 at 9-10 (“On
                    15     this record, the Court cannot say that Plaintiff demonstrates the level of unfamiliarity
                    16     with the basic aspects of this case needed to render her inadequate.”). However,
                    17     where it is clear that the named representative’s lack of understanding of the facts or
                    18     the law means that he or she will “completely rel[y] on counsel to direct the
                    19     litigation,” certification is inappropriate. Moeller, 220 F.R.D. at 611; see, e.g., In re
                    20     Facebook, Inc. PPC Advert. Litig., 282 F.R.D. 446, 454 (N.D. Cal. 2012) (“[Plaintiff]
                    21     is also not an adequate class representative for the addition reason that he testified in
                    22     his deposition that he knows essentially nothing about the case, and indicated that he
                    23     would defer to counsel in prosecuting this action.”).
                    24              In Lee v. Pep Boys-Manny Moe & Jack of California, the Court noted that it is
                    25     insufficient for the named representative to simply aver that he is available to assist
                    26     in the investigation of the matter and otherwise understands the duties of a named
                    27     class representative. No. 12-CV-05064-JSC, 2015 WL 9480475, at *10 (N.D. Cal.
                    28     Dec. 23, 2015). Where the plaintiff simply states that the defendant’s conduct is
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                       1   “unfair” but “could not identify anything he did specifically to control the case,” he
                       2   is not an adequate class representative. Id. (finding plaintiff inadequate where his
                       3   “sole participation has been reviewing the initial ... settlement demand letters with
                       4   his attorneys and attending his deposition” and “he was able to articulate in the most
                       5   general of terms the nature of his claims”).
                       6            “[W]hile Rule 23 does not require named plaintiffs to possess a lawyer’s
                       7   understanding of their claims or to be an expert on the technical factual issues,” a
                       8   named Plaintiff’s testimony “indicat[ing] a distressing lack of understanding of or
                       9   familiarity with her claim” is disqualifying. San Pedro-Salcedo v. Haagen-Dazs
                    10     Shoppe Co., Inc., No. 5:17-CV-03504-EJD, 2019 WL 6493978, at *5 (N.D. Cal. Dec.
                    11     3, 2019) (citing McPhail v. First Command Fin. Planning, Inc., 247 F.R.D. 598, 612
                    12     (S.D. Cal. 2007) (finding class representative inadequate where representative had
                    13     “little to no supervisory role in the litigation and little knowledge of the underlying
                    14     facts of the lawsuit.” (citation and quotation omitted)); In re Quarterdeck Office Sys.,
                    15     Inc. Sec. Litig., No. CV 92–3970–DWW(GHKx), 1993 WL 623310, at *5 (C.D. Cal.
                    16     Sept. 30, 1993) (“A plaintiff subject to unique defenses, especially as to his credibility
                    17     and his demonstrated lack of familiarity with the suit, is an inadequate class
                    18     representative.” (citations omitted)); Burkhalter, 141 F.R.D. at 153 (“a party who is
                    19     not familiar with the basic elements of its claim is not ... an adequate
                    20     representative.”)).
                    21              As discussed in detail below, and in contrast to her claims against the KPC
                    22     Defendants, Gamino does not have the requisite knowledge or understanding of
                    23     SPCP’s role in the IHH/ESOP transactions and is not directing the prosecution of the
                    24     purported claims against SPCP. This Court must deny certification on these grounds.
                    25              B.    Plaintiff Does Not Have The Requisite Knowledge Or
                                          Understanding Of The Claims Against SPCP And Has Ceded
                    26                    Control Of The Prosecution Of Those Claims To Her Counsel
                    27              This Court previously held that to meet the adequacy test, Plaintiff must be
                    28     able to “articulate[] an understanding of the gravamen of this dispute and her
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                       1   complaint” and be able to “explain [how] the claims arose” based on the conduct of
                       2   the alleged defendants and their actions. Dkt. 174 at 9. Here, Plaintiff cannot meet
                       3   this minimum threshold.
                       4            Plaintiff testified unequivocally that, even after she filed her claims against the
                       5   KPC Defendants in 2020, she had never heard of SPCP:
                       6              Q. Now, at the time this original complaint was filed had you ever
                                         heard of Silver Point Capital?
                       7
                                      A. I had not.
                       8
                                      Q. When did you first hear about an entity called Silver Point Capital?
                       9
                                      A. From my lawyers.
                    10
                    11     Deposition of Danielle Gamino, Vol. II (“Gamino Dep. Vol. II”) at 214:25-215:6,
                    12     Ex. A to Declaration of Aimee G. Mackay (“Mackay Decl.”). Other than a basic
                    13     Google search after she learned about the company from counsel, all the information
                    14     she knows about SPCP comes from her lawyers. Id. at 216:4-217:12.
                    15              In Plaintiff’s understanding, SPCP’s role was to “provide[] financing related
                    16     to the ESOP transaction,” which financing she claims was given to Dr. Chaudhuri.
                    17     Id. at 217:17-23. She testified:
                    18                Q. Do you know what the purpose of that financing that they provided
                                         was?
                    19
                                      A. I do. It was to finance -- finance the purchase of -- sorry, if you
                    20                   could just give me a second, because I don't want to misstate it.
                    21                Q. Sure.
                    22                A. They provided the financing for Dr. Chaudhuri so that he could –
                                         I’m sorry, that’s as much of an explanation as I can give. They
                    23                   provided the financing for Dr. Chaudhuri related to the ESOP.
                    24
                           Id. at 217:24-218:9. Although she recalled some of the compensation SPCP allegedly
                    25
                           received with respect to its transaction with Dr. Chaudhuri, she noted that the entirety
                    26
                           of her understanding came from her lawyers. Id. at 218:23-219:14 (and noting she
                    27
                           has no “independent” understanding of the transaction).
                    28
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                       1            Most critically, Plaintiff testified that she did not understand SPCP’s purported
                       2   role in the 2015 ESOP transaction:
                       3              Q. …You testified earlier that Dr. Chaudhuri sold his shares to the
                                         ESOP for more than adequate consideration, correct?
                       4
                                      A. Right.
                       5
                                      Q. He did not need Silver Point Capital’s money to do that, did he?
                       6
                                      A. I don’t know.
                       7
                                      Q. So do you know why Dr. Chaudhuri needed money from Silver
                       8                 Point Capital in connection with this transaction?
                       9              A. No. I wasn’t part of the transaction, so I couldn’t tell you.
                    10
                           Id. at 221:5-17. She confirmed that she has no idea whether the money SPCP
                    11
                           allegedly transacted to finance Dr. Chaudhuri was even related to the 2015 ESOP
                    12
                           transaction. In fact, she later admitted she could have “misunderstood” whether the
                    13
                           relevant transaction was between SPCP and Dr. Chaudhuri or SPCP and KPC. Id. at
                    14
                           221:18-25; 224:10-19; 229:15-230:7. She has never seen or read the warrant
                    15
                           purchase agreement and confirmed that her knowledge and understanding of the
                    16
                           warrant purchase agreement comes solely from her lawyers. Id. at 227:23-228:16;
                    17
                           230:25-231:21. Plaintiff also testified that she does not know what the current
                    18
                           relationship is between KPC and SPCP. Id. at 227:8-10.
                    19
                                    This basic inability to describe the gravamen of her complaint against SPCP
                    20
                           and to demonstrate an understanding of SPCP’s alleged role in the relevant
                    21
                           transactions contrasts with what the Court found was her acceptable level of
                    22
                           understanding of the claims against the KPC Defendants. The Court found:
                    23
                                      Plaintiff articulated an understanding of the gravamen of this dispute
                    24                and her complaint. Plaintiff was able to explain that the claims arose
                                      because “Chaudhuri sold his stock at an increased value to the ESOP”
                    25                and that “Alerus caused the ESOP to buy” the stock at that higher
                                      value…. Plaintiff identified that Chaudhuri should have sold the stock
                    26                “at a fair value,” that this action seeks to “mak[e] the ESOP parties
                                      whole,” and that the action brought separate “disclosure claims”
                    27                under ERISA.
                    28
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                       1   Dkt. 174 at 9 (citations omitted). Here, by contrast, Plaintiff does not appear to know
                       2   with whom SPCP allegedly transacted and when, SPCP’s relationship to the other
                       3   defendants in this case, or why SPCP was involved at all. She articulated no basis
                       4   on which to allege SPCP’s purported liability in this case.
                       5            Plaintiff’s lack of familiarity with SPCP’s alleged role in the 2015 ESOP
                       6   transaction is highlighted by her failure to appreciate a significant error her counsel
                       7   made in the original complaint adding SPCP as a defendant in the KPC Action. In
                       8   the original complaint, Plaintiff averred that Alerus caused the KPC ESOP to
                       9   purchase 100 percent of the common stock warrants owned by SPCP (Dkt. 1 at
                    10     ¶ 119) 1; in the amended complaint, this allegation was revised to claim that in 2015,
                    11     SPCP sold its common stock warrants to KPC (Dkt. 21 at ¶ 73) 2. Plaintiff confirmed
                    12     that her attorneys had made a mistake in the original complaint, and that she did not
                    13     catch the mistake. Ex. A to Mackay Decl., Gamino Dep. Vol. II at 237:6-241:10.
                    14     This is because, respectfully, Plaintiff lacks a basic understanding of SPCP’s
                    15     purported role in the 2015 ESOP transaction or its alleged “knowing participation”
                    16     in any ERISA violations committed by other defendants. This occurred even after
                    17     Plaintiff claims to have studied the pleadings and other filings in this case, and to
                    18     have been given the opportunity to review discovery and other documents (an
                    19     opportunity she testified explicitly that she has thus far declined). Id. at 233:4-
                    20     234:24, 235:17-237:3. She cannot (and has not), therefore, properly supervise her
                    21     counsel’s prosecution of the claims against SPCP.
                    22     1
                             The Original Complaint against SPCP was filed in Case No. 5:21-cv-01466-SB-
                    23     SHK before the actions against SPCP and the KPC Defendants were consolidated.
                           The full paragraph 119 reads: “On information and belief, Alerus, acting as Trustee
                    24     of the KPC ESOP, caused the KPC ESOP to purchase 100% of the common stock
                           warrants owned by SPCP Group, Mulé, and O’Shea as part of the 2015 Transaction
                    25     at the purchase price of KPC common stock.” Dkt. 1 at ¶ 119.
                    26     2
                             The Amended Complaint against SPCP was also filed in Case No. 5:21-cv-01466-
                           SB-SHK before the actions against SPCP and the KPC Defendants were
                    27     consolidated. The relevant portions of paragraph 73 read: “[O]n April 13, 2010, as
                           part of the 2015 ESOP Transaction Defendant SPCP Group sold its common stock
                    28     warrant entitling the holder to acquire 79,182,635 shares of common stock of KPC
M ORGAN, L EWIS &          to KPC on August 27, 2015….” Dkt. 21 at ¶ 73.
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                       1            This case closely resembles another ERISA class action in which the court
                       2   recently denied certification of claims against a 401(k) plan’s investment advisor.
                       3   See Ramos v. Banner Health, 325 F.R.D. 382 (D. Colo. 2018). In Ramos, plaintiffs
                       4   were plan participants who alleged the employer/plan sponsor (Banner Health) and
                       5   its plan fiduciaries violated ERISA by causing the plan to incur excessive fees, offer
                       6   imprudent investment options, and engage in prohibited transactions. Id. at 386-87.
                       7   Similar to this case, midway through the lawsuit, the Ramos plaintiffs added another
                       8   defendant to the action—the plan’s investment advisor (Slocum). Plaintiffs claimed
                       9   Slocum also breached fiduciary duties relating to the plan. Although the court
                    10     certified the claims against Banner, it denied certification of claims against Slocum.
                    11              Relying on the plaintiffs’ admissions, the court found “that even after
                    12     Plaintiffs’ claims against Slocum had been filed, and even after lengthy discovery
                    13     and multiple opportunities to review pleadings and meet with counsel, the named
                    14     representatives had essentially no knowledge of Slocum’s alleged role or breaches of
                    15     duty.” Id. at 396. Plaintiffs could “not even convincingly paraphrase[] the claims
                    16     against Slocum as articulated and pled by their counsel, can offer no description of
                    17     what services Slocum provided to Banner, or what conduct Slocum allegedly
                    18     engaged in, and can provide no answer to questions regarding what they believed
                    19     Slocum did with regard to allegedly excessive fees, although that is one of Plaintiffs'
                    20     core factual claims.” Id. Therefore, “as to Slocum, [plaintiffs] have done no more
                    21     than ‘simply lend their names to a suit controlled entirely by the class attorney[s].’ ”
                    22     Id. (citation omitted). The Ramos court concluded: “if the adequacy analysis on
                    23     which Plaintiffs bear the burden is to retain any meaning, it prevents the named
                    24     Plaintiffs from advancing class claims against Slocum.” Id. at 397.
                    25              Plaintiff’s attempt to certify claims against SPCP must similarly fail. Her
                    26     testimony confirms that she has no understanding of SPCP’s alleged role in the 2015
                    27     ESOP transaction or any events preceding that transaction, and that she does not
                    28     understand the warrant purchase agreements or other relevant documents that define
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                       1   SPCP’s role in those transactions. Indeed, even though this case has been proceeding
                       2   for over a year, Plaintiff has done nothing more than read some of the pleadings and
                       3   conduct a Google search, neither of which has given her sufficient understanding of
                       4   the basis for her ERISA claims against SPCP to properly supervise her counsel.
                       5            In finding Plaintiff to be an adequate representative with respect to the claims
                       6   against the KPC Defendants, the Court noted that Plaintiff’s “understanding of the
                       7   gravamen of this dispute” had allowed her to meaningfully contribute to the direction
                       8   of the action, whereby Plaintiff “assisted in the preparation of the complaint” and
                       9   “participated in discovery.” Dkt. 174 at 9-10. Here, by contrast, Plaintiff lacks any
                    10     basic understanding of SPCP’s role in the relevant transactions. As a result, she has
                    11     not been able to contribute to the litigation in the same manner. She cursorily
                    12     reviewed a draft complaint against SPCP, failed to appreciate an error therein, and
                    13     has since declined to review any of the documents or discovery that would give her
                    14     an understanding of SPCP’s participation in the 2015 ESOP Transaction.
                    15              Accordingly, with respect to SPCP, this is almost certainly a case in which
                    16     plaintiff has done “no more than simply lend [her] name[] to a suit controlled entirely
                    17     by the class attorney[s].” Id. at 396–97. Because class counsel may not act “on
                    18     behalf of an essentially unknowledgeable client,” certification must be denied.
                    19     Burkhalter, 141 F.R.D. at 154 (allowing class counsel to proceed on behalf of
                    20     plaintiff who lacks requisite knowledge of claims “would risk a denial of due process
                    21     to the absent class members”).
                    22     V.       CONCLUSION
                    23              For the foregoing reasons, SPCP respectfully requests that the Court find that
                    24     Plaintiff cannot fairly and adequately represent the KPC ESOP and its participants
                    25     with respect to the claims against SPCP and deny Plaintiff’s motion for class
                    26     certification of the claims against SPCP.
                    27
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                       1   Dated: March 25, 2022         MORGAN, LEWIS & BOCKIUS LLP
                       2
                       3                                 By /s/ Aimee Mackay
                                                           Aimee Mackay
                       4                                   Sari Alamuddin (admitted pro hac
                                                           vice)
                       5                                   Deborah Davidson (pro hac vice to
                                                           be filed)
                       6
                                                            Attorneys for Defendant
                       7                                    SPCP GROUP, LLC
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